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                                                                      December 30, 2019

                         Ryan Hall
                         27 Creekside Dr.
                         Prestonsburg, KY 41653

                                  Re:        Our Client:            USAA Insurance Company
                                             Claim No:              42003497-001
                                             DOL:                   12/21/2018

                        Dear Mr. Hall:

                                USAA Insurance Company (USAA) frequently employs this law firm to assist with legal
                        matters related to claims and lawsuits. USAA has asked us to assist in the investigation and
                        evaluation of the above-referenced claim currently pending.

                                USAA is investigating all details related to the referenced claims. For this reason, USAA
                        reserves all of its rights and defenses as provided under the law and the terms, provisions,
                        conditions, and exclusions of your policy of insurance until USAA completes a full,
                        comprehensive investigation and evaluation regarding all claims under investigation.

                               This letter is to request that you (or, if you arc represented by counsel, your
                        attorney) contact me as soon as possible to schedule your sworn statement at our mutual
                        convenience.

                               Please note that the applicable insurance policy requires you to cooperate and provide a
                        statement under oath. Your USAA policy states:

                                  Section II, Para. 4. Duties After Loss
                                           In case of an accident or "occurrence·• the "insured" will perform the following duties
                                  that apply ...

                                  b. Cooperate with us in the investigation, settlement or defense of any claim or suit.

                               One purpose of the examination under oath is to obtain facts (known to you) relevant to
                       each claim alleged. Therefore, I will be inquiring about the vehicle, occupant(s) of the vehicle,
                       injury to anyone and other matters related to any alleged accident and/or claimed event and
                       claimed damages. If you have documents which might provide information about the vehicle,
                       damage to the vehicle, the condition and value of any related vehicle(s), vehicle identification
                       numbers of any involved vehicle(s), the people involved in any claimed accident, the pre-

                                                                                                               EXHIBIT

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accident and post-accident condition of the vehicle(s) and the pre-accident and post-accident
medical and physical condition of individuals making claims, any medical examinations,
treatments or other injuries alleged and/or claimed and otherwise relevant thereto, you should
bring those documents or tangible things with you.

        Included with the documents and tangible things should be: vehicle title(s),
registration(s), bill(s) of sale, purchase and maintenance records, relevant bank records (showing
payment for vehicle purchase/repairs), documents from all insurance claims and people making
claims, relevant photographs, recordings, images, computer records, etc. related to any involved
vehicle(s) and claimant(s), all relevant medical records, all relevant medical bills, bank records
and other receipts showing payment of medical bills and any other tangible records or things that
might substantiate or confirm any aspect of the claim(s) being investigated.

         The above list describes materials which may be pertinent to the investigation and which,
if available, should be brought to your sworn statement.

       The examination may be fairly lengthy. We will take appropriate breaks, but you should
arrange your schedule so that you can be available one entire day.

       Also, if you believe you may require an interpreter or other accommodation to assist with
the examination, please provide your request in sufficient time for it to receive appropriate
consideration.

        If you have questions on any matters pertaining to the referenced claims or the
examination, please do not hesitate to contact me or, if a lawyer is representing you, ask your
attorney to contact me.

                                             Thank you,
                                                              ___,
                                           ~mpien

BOS/baa

cc:    USAA Insurance Company
       Claim No: 42003497-001

Kentucky law (KRS 304.47-030) requires that all claims forms shall contain a statement
which states: Any person who knowingly and with intent to defraud any insurance
company or other person files a statement of claim containing any materially false
information or conceals, for the purpose of misleading, information concerning any fact
material thereto commits a fraudulent insurance act, which is a crime.
